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 1 Gary S. Lincenberg - State Bar No. 123058
      glincenberg@birdmarella.com
 2 Ray S. Seilie - State Bar No. 277747
      rseilie@birdmarella.com
 3 Michael C. Landman – State Bar No. 343327
      mlandman@birdmarella.com
 4 BIRD, MARELLA, BOXER, WOLPERT, NESSIM,
   DROOKS, LINCENBERG & RHOW, P.C.
 5 1875 Century Park East, 23rd Floor
   Los Angeles, California 90067-2561
 6 Telephone: (310) 201-2100
   Facsimile: (310) 201-2110
 7
   Attorneys for Defendant
 8 Stephen Keith Chamberlain

 9

10                                   UNITED STATES DISTRICT COURT

11               NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

12

13 UNITED STATES OF AMERICA,                                  CASE NO. 3:18-cr-00577-CRB

14                     Plaintiff,                             Declaration of Gary S. Lincenberg in
                                                              Support of Stephen Chamberlain’s Motion
15               vs.                                          to Dismiss Counts One through Fifteen and
                                                              Seventeen Of the Superseding Indictment as
16 MICHAEL RICHARD LYNCH AND                                  Time-Barred
   STEPHEN KEITH CHAMBERLAIN
17                                                            Date:     November 1, 2023
             Defendants.                                      Time:     1:30 p.m.
18                                                            Place:    Courtroom 6

19                                                            Assigned to Hon. Charles R. Breyer

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     3891700.1                                                                           Case No. 3:18-cr-00577-CRB
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 1                               DECLARATION OF GARY S. LINCENBERG

 2               I, Gary S. Lincenberg, declare as follows:

 3               1.     I am an active member of the Bar of the State of California and a Principal with
 4 Bird, Marella, Boxer, Wolpert, Nessim, Drooks, Lincenberg & Rhow PC, attorneys of record for

 5 Defendant Stephen Keith Chamberlain in this action. I make this declaration in support of Stephen

 6 Chamberlain’s Motion to Dismiss Counts 1-15 and 17 of the Superseding Indictment on

 7 Timeliness Grounds. Except for those matters stated on information and belief, I make this

 8 declaration based upon personal knowledge and, if called upon to do so, I could and would so

 9 testify.

10               2.     When I began representing Mr. Chamberlain in July 2014, Mr. Chamberlain was a

11 target of the government’s investigation. In 2016, government counsel advised of their intent to

12 indict Mr. Chamberlain. As a condition of meeting with defense counsel for a pre-indictment

13 presentation to the government, on September 20, 2016 Mr. Chamberlain and I signed a tolling

14 agreement from September 19 through November 10, 2016. On November 10, 2016, the

15 government secured an indictment solely against Sushovan Hussain.

16               3.     Also in 2016, both Poppy Gustafsson neé Prentis and Lisa Harris voluntarily met

17 with me and expressed a willingness to give evidence on behalf of Mr. Chamberlain. No formal

18 steps were taken to secure their testimony because Mr. Chamberlain had not yet been indicted.

19               4.     I have since reached out to counsel for both witnesses, who reside in the United

20 Kingdom, about their willingness to testify in Mr. Chamberlain’s defense in this matter. Both have

21 indicated that they will not voluntarily travel to the United States to do so.

22               5.     Attached as Exhibit 1 is a true and correct copy of a document produced by the

23 government in this matter under Bates number USAO 00003434, which is an August 10, 2015

24 request from the United States to the Holy See and Vatican City for “information concerning a

25 potential transaction in 2010 connected to the Vatican Apostolic Library.”

26               6.     Attached as Exhibit 2 is a true and correct copy of a document produced by the

27 government in this matter under Bates number MLAT_AU 00000011. It is a December 18, 2015

28 Request for International Judicial Assistance in the Criminal Investigation of Autonomy

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 1 Corporation sent by the Department of Justice to the Secretariat of State for the Holy See and

 2 Vatican City State.

 3               7.    Attached as Exhibit 3 is a true and correct copy of a document produced by the

 4 government to defense counsel as an attachment to a September 23, 2023 email, which the

 5 government described as the attachment to a December 23, 2015 request to Italy. No Bates-

 6 numbered version of this document has been produced as of the date of the filing of this motion.

 7               8.    Attached as Exhibit 4 is a true and correct copy of the Declaration of AUSA

 8 Robert S. Leach in Support of the United States’ Ex Parte Application for an Order Suspending

 9 the Statute of Limitations Pursuant to 18 U.S.C. § 3292 in the matter captioned In re Grand Jury

10 Investigation No. 2012R02242, No. CR-90491 (the “Grand Jury Investigation”) filed on January

11 29, 2016 and produced in this action under Bates number USAO 00003310. For brevity, the copy

12 attached to this declaration does not include the attached exhibits.

13               9.    Attached as Exhibit 5 is a true and correct copy of an Order Suspending the

14 Running of the Statute of Limitation Under 18 U.S.C. § 3292, entered in the Grand Jury

15 Investigation on January 29, 2016. It was produced in this action under Bates number USAO

16 00003603.

17               10.   Attached as Exhibit 6 is a true and correct copy of a document the government

18 produced in this matter under Bates number MLAT_AU 00000001. It is an April 18, 2016 letter

19 from the Office of International Affairs of the Department of Justice addressed to Robert Leach.

20               11.   Attached as Exhibit 7 is a true and correct copy of a document the government

21 produced in this matter under Bates number MLAT_AU 00000777. It is an April 18, 2016 letter

22 from the Office of International Affairs of the Department of Justice addressed to Robert Leach.

23               12.   Attached as Exhibit 8 is a true and correct copy of a document the government

24 produced in this matter under Bates number MLAT_AU 00004917. It is an May 25, 2016 letter

25 from the Office of International Affairs of the Department of Justice addressed to Robert Leach.

26               13.   Attached as Exhibit 9 is a true and correct copy of a document the government

27 produced in this matter under Bates number USAO 00003559. It is a January 29, 2016 letter from

28 the Office of International Affairs of the Department of Justice to the United Kingdom Central

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 1 Authority.

 2               14.   Attached as Exhibit 10 is a true and correct copy of an Order Suspending the

 3 Running of the Statute of Limitation Under 18 U.S.C. § 3292, entered in the Grand Jury

 4 Investigation on June 7, 2016. It was produced in this action under Bates number USAO

 5 00003606.

 6               15.   Attached as Exhibit 11 is a true and correct copy of a document the government

 7 produced in this matter under Bates number USAO 00003593. It is a December 13, 2017 letter

 8 from the United Kingdom Central Authority to the Department of Justice.

 9               16.   Attached as Exhibit 12 is a true and correct copy of a document the government

10 produced in this matter under Bates number MLAT_AU 00105991. It is a March 22, 2019 letter

11 from the United Kingdom Central Authority to the Department of Justice.

12               17.   Attached as Exhibit 13 is a true and correct copy of a Statute of Limitations

13 Tolling Agreement between Stephen Chamberlain and the United States of America, executed

14 September 20, 2016.

15               18.   Attached as Exhibit 14 is a true and correct copy of a document the government

16 produced in this matter under Bates number USAO 00003580. It is a May 1, 2017 letter from the

17 Office of International Affairs of the Department of Justice to the United Kingdom Central

18 Authority.

19               19.   Attached as Exhibit 15 is a true and correct copy of an Third Order Suspending the

20 Running of the Statute of Limitation Under 18 U.S.C. § 3292, entered in the Grand Jury

21 Investigation on June 7, 2016. It was produced in this action under Bates number USAO

22 00003301.

23               20.   Attached as Exhibit 16 is a true and correct copy of Trial Exhibit 1512 from the

24 United States v. Hussain proceeding.

25               21.   Attached as Exhibit 17 is a true and correct copy of a document produced by the

26 government in this matter under Bates number USAO-EMAIL 008341. It is an October 15, 2015

27 letter from Morgan, Lewis & Bockius LLP to the government.

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 1               I declare under penalty of perjury under the laws of the United States of America that the

 2 foregoing is true and correct, and that I executed this declaration on September 29, 2023, at Los

 3 Angeles, California.

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 5                                                                  /s/ Gary S. Lincenberg
                                                             Gary S. Lincenberg
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